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                  IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


COMMITTEE FOR A FAIR AND BALANCED         )
MAP, et al.,                              )
                                          )
                 Plaintiffs,              )
                                          )
     Case No. ll-C-5065
         v.                               )
                                          )
     Hon. John D. Tinder
ILUNOIS ST ATE BOARD OF ELECTIONS,        )      Hon. Joan H. Lefkow
etal.,                                    )      Hon. Robert L. Miller, Jr.
                                          )      (3-judge court convened pursuant to
                                          )
     28 U.S. C. § 2284)
                 Defendants.              ).




                               APPENDIX I

              TO DEFENDANTS' RESPONSE TO PLAINTIFFS' MOTION

                      FOR A PERMANENT INJUNCTION



                                 A-I thru A-50
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                  IN THE llNITEDSTATES mSTRICT COURT

         FOR THE NORTHERN mSTRICT OF ILLINOIS, EASTERN DIVISION


COMMn-rEE FOR A FAIR AND BALANCED                    )
MAP. el al.,                                         )
                                                     )
                     . Plaintiffs,                   )
                                                     )       Case No. II-C-5065
               v                                      )
                                                      )      Hon. John D. Tinder
ILLINOIS STATE BOARDOF ELECTIONS,                     )      Hon. Joan H. Lefkow
et al..                                               )      Hon. Robert L. M iller, Jr.
                                                      )      (3-judge court convened pursuant to
                       Defendants.                    )      28 USc. § 2284)


             PLAINTIFFS' 011..1ECTJONS ANn RFSPONSES TO DEFF,NDANTS'
                     1<'1 RST SET OF REOli ESTS FOR PRODliCTION

       Plaintiffs, by and through their attorneys and pursuant to Fm. R. Civ. P. 26 and Discovery

and Preliminary Pre-Trial Order No. I entered on August 11, 20 II by the Court in the above-

captioned action. hereby submit their objections to Defendants' First Set of Requests for

Production. dated September 7,2011 ("Requests").

                                     GENERAL OBJECTIONS

        I.     Nothing herein shall be construed as an admission by Plaintiffs regarding the

competence, admissibility, orrelevance of any fact or document, or as an admission of tlie truth or

accur;l\.;Y of any characterization or document of any kind sought by these Requests. PlainLilTs

reserve llt.:ir rights to challenge the competency, relevance, materiality, and admissibility of any

information and/or documents Plaintiffs produce in response to any Request at trial, of this or any

other action. or at any subsequent proceeding related to this action or any other action.

       2.       Plaintiffs object to each Request to the extent it calls for information protected from

discovery by the attorney-client privilege, the attorney work product doctrine. or ally other

applicable privilege or protection from discovery. To the extent any information or documents



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subject to a privilege or otherwise protected from discovery are produced In response to these

Requests, such production is inadvertent and not intended as a waiver.

       J.      Plaintiffs object to the Requests to the extent that they prematurely seck

information or documents relating to, or reports by, experts retained pursuant to Federal Rule of

Civil Proced ure 26(a)(2). The Defendants wiII provide aII such materiaIs to the Plaintiffs pursuant

to the dictates of the Court's Scheduling Order and the Federal Rules of Civil Procedure.

       4.      Plaintiffs object to the Requests to the extent that they seek information or

documents relating to, or reports by, experts that are not discoverable pursuant to Federal Rule of

Civil Procedure 26(b)(4).

       5.      Plaintiffs object to the Requests, including any request, instruction, definition. or

directive contained therein. to the extent that it purports to impose any obligations upon Plaintiffs

beyond the obligations imposed by the Federal Rules of Civil Procedure, Northern District of

Illinois Local Rules. and applicable law.

       6.      Plaintiffs object to these Requests to the extent they are unlimited in time or not

limited to the time relevant to this litigation on the grounds that such Requests seek information

that is neither relevant to any issue in this action nor calculated to lead to evidence rein-ant to the

claims or defenses in this action and is overly broad and unduly burdensome. Unless otherwise

indicated. Plaintiffs wi.11 respond for the period January l, 20 IOta the present.

        7.     Plaintiffs intend no implied or incidental admissions by their responses             (0



Defendants' Requests for Production. Whether Plaintiffs answer or object to a Request should not

he interpreted as an admission that Plaintiffs accept Or admit the existence of any fact(s) set out or

a: .. umcd by such Request, or that such response or objection constitutes admissible evidence.




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      Furthermore, whether 1'laintifTs answer part or all of any particular Request         j,;   not intended and

      should not be construed as a waiver by Plaintiffs of all or any objections to such Request.

              8.      Plaintiffs object to these Requests to the extent they seck disclosure of material or

      information that is not relevant to the subject matter of this lawsuit, or are not reasonably

      calculated to lead to the discovery of admissible evidence that is relevant to the claim or defense

      () (' any party, as required by Rule 26(b)( I) of the I· edera I Rules of Civil Procedure.

              9.      Plaintiffs object to the production of any confidential documents or disclosure of

      confidential information absent an appropriate protective order or confidentiality agreement

      limiting usc of and access to confidential documents or information. Subject to their objections,

      Plaintilf': agree to provide information and documents in response to these Requests in accordance

      with tilt, terms ul .ruch a protective order.

              10.     Plaintiffs object to these Requests to the extent they seeks the production of

      documents that would violate the privacy rights of individual Plaintiffs. to the extent such privacy

      rights are protected by law, contract, or public policy.

              I I.    Plaintiffs object to these Requests to the extent that they are in any way vague.

      ambiguous, Or lacking in categorization necessary to enable Plaintiffs to determine the, identity or

      documents or information of which the Request seeks production,

              12.      Plaintiff,'1 object to these Requests to the extent that they do nor Identlfy the

      documents sought with reasonable particularity, as required by Rule 34(b)(I)(A) of the Federal

      Rules of Civil Procedure.

              i 3.     Plaintiffs object to these Requests to the extent that it seeks electronically stored

      information CESI") that is not reasonably accessible to Plaintiff", including but not limited to




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archived and backup ESI, on the ground that such requests are overly broad and unduly

burdensome. and would impose significant costs on Plaintiffs.

        14.    Plaintiffs object to these Requests to the extent they seek information and/or

documents beyond the possession, custody, or control of Plaintiffs andlor seck inlonnution and/or

documents that are already known or available to Defendants from third parties or public sources

or arc within the possession. custody, or control of Defendants.

        15.    Plaintiffs object to thl':;t' Requests. including any document request, instruction,

definition. or directive contained therein, to the extent that they seek information that is more

properly obtained through other means of discovery,

        16.    Plaintiffs object to these Requests" including any document request, instruction,

definition, or directive contained therein, to the extent that it makes assumptions about or

characterizes facts or law. Thus, any response or production by Plaintiffs does not constitute any

agreement with, or acceptance of, any such assumptions or characterizations.

         17.   Plaintiffs' production of documents or information in response to the Requests is

not intended to be construed as an acknowledgement that the requested information is relevant or

admissible.

         18.   The definitions ofvyou," "your," "Defendants" and "Plaintiffs" make every request

using these terms overly broad and unduly burdensome.              Plaintiffs expressly object to the

definition of "Plaintiffs" to the extent that it purports to include any person or entity other than

Plaintiffs.

         19.   Plaintiffs objects to the usc of the term "all" documents in the Requests on the

gnlunds of burden to the extent that it could be construed as calling for the repeated production of

identical versions of the same document. This would be unnecessary and unduly burdensome.

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        20.        Plaintiff" object to the definition of the term "Document" as vague, overly broad.

unduly burdensome in that it could be construed as calling for the repeated production of identical

versions of the same document, and not reasonably calculated to lead to the discovery of

admissible evidence.

         2 I.      PIa i ntiffs object to the definition of the term "Latino Opportunity District:' as vague

and ambiguous.

         22.       Plaintiffs' response that documents will be produced means that Plaintiffs will

produce documents responsive to a Request if they exist, are found in Plaintiffs' possession,

custody, or control following a reasonable search, and are not privileged or: otherwise protected

from discovery.

         23.       Plaintiffs reserve the right to assert additional genera'! and specific objections to the

production      or information and/or documents as appropriate and to supplement these objections unci
responses.       Plaintiffs also reserve the right to assert additional general and specific objections

arising from matters discovered during the course of'this litigation.

         24.Pluinliffs' investigation is on-going.            Plaintiffs expressly reserve their right to

supplement. amend . or otherwise modify their responses as they discover addiuonul informutiun

during this litigation.

         25.       Each of the above-Slated General Objections is incorporated by reference into each

and every specific objection and response below as though full stated therein. The fact that. an

answer is given or document provided does not waive any general or specific objection. Subject

10   and without waiving the foregoing General Objections, Citizen Plaintiffs further respond to

Defendants' specific Requests below.




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                               SPECIFIC OBJECTIONS AND RESPONSES

Reg uest No. I:

      All documents rdating to the origination, organization. donors. funding, financing, or
monetary or in-kind contributions to The Committee for a Fair and Balanced Map.

ANSWER to Request No.1:

         In addition to the foregoing General Objections. Plaintiffs object to Request No. I as

overly broad. unduly burdensome. and not reasonably calculated to lead to the discovery of

admissible evidence that is relevant to the claim or defense of any party. Plaintiffs also object to

Request No.1 as seeking material that is protected by the attorney-client privilege and/or the work

product doctrine and therefore is not discoverable. Subject to and without waiving any General

Objections or the foregoing objections, Plaintiffs will produce non-privileged documents relating

to the origination and organization of the Committee. Investigation continues.

Request No.2:

        All documents which relate to district by district demographics, including but not limited
to V A P or CVAP demographics by percentages and numbers by district, of Plaintiffs' Plan or any
other potential or proposed Tllinois Congressional Redistricting plan or map generated or
considered by You.

ANSWER to Request No.2:

          In addition to the foregoing General Objections, Plaintiffs object to Request No.2 as

overly broad and not reasonably calculated to lead to the discovery of admissible. Plaintiffs also

object to Request No.2 as seeking material that is protected by the attorney-client privilege and/or

the work product doctrine and therefore is non-discoverable. Plaintiffs specifically object to the

term "district demographics" us overbroad; and interpret this term to refer to information regarding

age, citizenship, race. ethnicity, national origin, anclany relevant political part)' affiliation or

registration and voting data.             Plaintiffs further object that Request No.2 seeks information


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regarding "CV AP" because. on information and belief, the question ofcitizenship status was not

asked as part of the 20 I0 Census. Any estimate 'of 20 I0 CVAP would therefore likely be derived

from the American Community Survey and would involve data that possesses confidence intervals

that arc too wide to provide a meaningful comparison at most levels of geography. Plaintiffs also

object to Request No, 2 as prematurely seeking information or documents relating to. or reports

by, experts obtained by Plaintiffs pursuant to Federal Rule of Civil Procedure 26(a)(2). Plaintiffs

also object to Request No.2 to the extent that it seeks information     01'   documents that are not

discoverable under Federal Rule of Civil Procedure 26(b)(4). Subject to and without waiving any

General Objections or the foregoing objections, Plaintiffs will produce non-privileged documents

responsive to Request No.2. Further, in response to Request No, 2, Plaintiff:" direct Defendants to

the expert reports served by Plaintiff." in this litigation and non-privileged materials on which

Plaintiffs' experts relied, which Plaintiffs are producing, and the following websites containing

data on which Plaintiffs' experts relied:

       hLtp:/lwww2.census.gov/censlIs_20 IO/04-Sul11mary_F ile_I 1IIIinoisi


       htlp:/lwww2.cenSlls.gov/censllS_2000/datasetsiSlImmary_Fi Ie_IIII I inoisl


        ltp://ftp.census.gov/census_1990/


Investigation continues.

Request No.3:

        All documents which relate LO precinct assignments of all districts, including but not
limited to split precinct assignments and reports of precinct and split-precinct assignments, of the
maps and documents attached as Plaintiffs' Plan or any other potential or proposed Illinois
Congressional Redistricting plan or map generated or considered by You.

ANSWER to Request No.3

        in addition to the foregoing General Objections, Plaintiffs object to Request No.3 as

overly broad and 'not reasonably calculated to lead to the discovery of admissible evidence,
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                                                                                                          ".~.".,,~----"'




 Plaintiffs also object to Request No. 3as seeking material that is protected by the attorney-client


 privilege and/or the work product doctrine and therefore is non-discoverable. Plaintiffs also object


 to Request No.3 as prematurely seeking information or documents relating to, or reports by,


experts obtained by Plaintiffs pursuant to Federal Rule of Civil Procedure 26(a)(2). Plaintiffs also


 object to Request No. J to the extent that it seeks information or documents that are not


 discoverable under Federal Rule of Civil Procedure 26(b)(4). Subject to and without waiving any


 General Objections or the foregoing objections, Plaintiffs will produce non-privileged documents


 responsive to. Request No.3, limited to those materials within the Plaintiffsvpossession, custody,


 and control.       Further, in response to Request No.3, PJaii'itiH's direct Defendants to the expert


 n:,pOI1S served by Plaintiffs in this litigation. and the non-privileged materials on which Plaintiffs'


 experts relied. which Plaintiffs are producing. investigation continues.


  Request Nu. 4:


         All documents, including but not limited to, reports, analyses, election results, population
 data, or other election data, pertaining or relating to the planning, development, preparation,
 negotiation, drawing, Or revision of Plaintiffs' Plan or any other potential 01' proposed Illinois
 Congressional Redistricting plan or map generated or considered by You.

  ANSWER to Request No.4

             I n add ition to the foregoing General Objections- Plaintiffs object to Request No. 4 as

  overly broad and not reasonably calculated to lead to the discovery of admissible evidence that is

  relevant to the claim or defense of any party. Plaintiffs also object to Request No.4 as seeking

  material that is protected by the attorney-client privilege and/or the work product docuinc.

  Plaintiffs further object to Request No.4 as prematurely seeking information or documents

  relating to, or reports by. experts obtained by Plaintiffs pursuant to Federal Rule of Civil

   Procedure 26(3)(2). Plaintiffs also object to 'Request No.4 to the extent that it seeks information

  or documents that are not discoverable under Federal Rule of Civil Procedure 26(b)(4). Subject to
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and without waiving any General Objections or the foregoing objections, Plaintiffs wil! provide

non-prj vileged documents relied upon by Plaintiffs'<designatcd experts. Further, in response to

Request No.4, Plaintiffs direct Defendants to the expert reports served by Plaintiffs in this

litigation, and the following websires containing data on which Plaintiffs' experts relied:

        htlp:/!www2.census.gov/census_20 IO/04-Summary_File_I /Illinois/

        http://www 2.census;gov!census.)OOO/datflsets/Summary_File_III llinois/

        ftp:mlp.ccnsus.gov/census_1990i

Investigation continues.

Reg \Jest No.5:

       All documents, including but not limited to, reports, analyses, election results, population
data, or other election data. pertaining or relating to the analysis and assessment of the
Congressional Map or the formulation and development of the claims and allegations in the

Complaint and supporting evidence for those claims i:1I1d allegations.


ANSWER to Request No.5:


        In addition to the foregoing General Objections, Plaintiffs object to Request No. 5 as

overly broad and unduly burdensome, and not reasonably calculated to lead to the discovery of

admissible evidence that is relevant to the claim or defense of any party. Plaintiffs also object to

 Request No.5 us seeking material that is protected by the attorney-client privilege and/or the work

 product doctrine. I'laintiffs further object to Request NO.5 as prematurely seeking information or

documents relating to. or reports by, experts obtained by Plaintiffs pursuant to Federal Rule of

 Civil Procedure 26(a)(2).    Plaintiffs also object to Request No.5 to the extent that it seeks

 information or documents that are not discoverable under Federal Rule of Civil Procedure

26(b)(4).   Subject to and without waiving any General Objections or the foregoing objections,

 Plaintiff's will provide all non-privileged documents relied upon by Plaintiffs' designated experts.

 Further, in response to Request No.5, Plaintiff'> direct Defendants to the expert reports served by
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Plaintiffs in this litigation, and the following websites containing data on which Plaintiffs' experts

relied:

          http://www2.ccnsus.gov/ccnsus_2010104-Summary.. . l i.le_1/111 inoisl


          http://,,,,\v\v2.census.gov/census_2000/datasets/SummaryJile_I II Ilinoisl


          ftp://ftp.census.go v/censlls_19901


Investigation continues.

Request NO.6:

        An)' analysis, review, study, or consideration undertaken by any expert, consultant, or
other Person relating to voter choices of Latinos, Whites, and African-Americans in Illinois
elections. This request is not temporally limited.

 ANSWER to Request No.6:

          In addition to the foregoing General Objections, Plaintiff:" object to Request No.6 as

overly broad and not reasonably calculated to lead to the discovery of admissible evidence that is

 relevant to the claim or defense ofany party. Plaintiffs also object to Request No.6 as seeking

 material that is protected by the attorney-client privilege and/or the work product doctrine and

 therefore is non-discoverable. Plaintiffs further object to Request No.6 as prematurely seeking

 information or documents relating to, or reports by, experts obtained by Plaintiffs pursuant to

 r:edcrnl Rule of Civil Procedure 26(a)(2). Plaintiffs also object to Request No.6 to the extent that

 it seeks information or documents that are not discoverable under Federal Rule of Civil Procedure

 26(b)(4). Subject to and without waiving any General Objections or the foregoing objections,

 Plaintiffs will provide all non-privileged documents relied upon by Plaintiffs' designated experts.

 Further. in response to Request No.6; Plaintiffs direct Defendants to the expert reports served by

 Plaintiffs in this litigation. Investigation continues.




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    Request No.7:

           All documents relating to any analysis of voter behavior, either candidate preference or
   turnout, of Latinos, Whites, and African-Americans in Illinois elections. This request is not

   temporally limited.


    ANSWER to Request No.7:


           In addition to the foregoing General Objections. Plaintiffs object to Request No. 7 as

    overly broad and unduly burdensome" and not reasonably calculated to lead to the discovery of

    admissible evidence that is relevant to the claim or defense of any party. Plaintiffs also object   10


    Request No.7 as seeking material that is protected by the attorney-clientprivilege andior the work

    product doctrine and therefore is non-discoverable. Plaintiffs specifically object to the term "voter

    behaYior'; as over broad, and seek to clarify their interpretation of this term to mean voters'

    candidate preference and voter turnout, Plaintiffs further object that Request No.7 is overbroad    ill


    that it is not temporally limited. Plaintiffs further object to Request No.7 as prematurely seeking

    information or documents relating to, or reports by, experts obtained by Plaintiff" pursuant to

    Federal Rule of Civil Procedure 26(a)(2). Plaintiffs also object to Request No.7 to the extent that

    it seeks information or documents that are not discoverable under Federal Rule of Civil Procedure

    26(b)(4). Subject to and without waiving any General Objections or the foregoing objections,

    Plaiuriffs will provide non-privileged documents responsive to Request No.7 dared January I,

    2002 to the present.      Further, in response to Request No, 7, Plaintiffs direct Defendants to the

    expert reports served by Plaintiffs in this litigation. Investigation continues.

    Rl'qUcst No.8:

            All documents, including without limitation, al'l data files or any other data type, related to
    election and/or voter data: election Redistricting software, including, but not limited to. Maptirude
    and AutoBound shapefiles and data, and/or data from any other District mapping software,
    progranus); Core Report and Compactness report data: and all 20 I0 Census data used for the
    purpose of planning and drawing Plaintiffs' Plan or any other potential or proposed Illinois


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      Congressional Redistricting plan or map generated or considered by You. This Request includes,
      but is not limited to, data in draft and final form.

      ANSWER to Request 8:

                 III addition to the foregoing General Objections, Plaintiffs object to Request No. 8 as

      overly broad and not reasonably calculated to lead to the discovery of admissible evidence that is

      relevant to the claim or defense of ony party. Plaintiffs also object to Request No.8 as seeking

      material that is protected by the attorney-client priv ilege and/or the work product doctrine and

      therefore is non-discoverable, Plaintiffs also object to Request No.8 to the extent that it seeks

      information or documents that are not discoverable under Federal Rule of Civil Procedure

      26(b)(4). Plaintiffs further object to Request No, 8 as prematurely seeking information or

      documents rl'!;tling to. or reports by. experts obtained by Plaintiffs pursuant to lcdcral Rule of

      Civil I)rocedure 26(u)(2). Plaintiffs further object to Request No.8 as unduly burdensome to the

      extent that it calls for the production of materials not within the Plaintiffs' possession, custody,

      control.     Subject to and without waiving any General Objection or the foregoing objections,

      Plaintil'fs will produce non-privileged documents responsive to Request No.8.                                                  Further, in

      response to Request No.8. Plaintiffs direct Defendants to the expert reports served by Plaintiffs in

      this litigation. Investigation continues.

      Request No.9:

               A II documents that analyze, refer to or relate to the Compactness of any of the Districts 0 I'
      Plaintiffs' Plan or any other potential or proposed Illinois Congressional Redistricting plan Or map
      generated or considered by You, including but not limited to the Circularity Ratio and results of
      the Schwartzberg Tests and Core Report for each ·of the Districts of Plaintiffs' Plan or any other
      potential or proposed Illinois Congressional Redistricting plan or map generated or considered by
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ANSWER to R<,'qucst No.9:

        In addition to the foregoing General Objections, Plaintiffs object to Request No. 9 as

overly broad and not reasonably calculated to lead to the discovery of admissible evidence that is

relevant to the claim or defense of any party. Plaintiffs also .object to Request No.9 as seeking

material that is protected by the attorney-client privilege and/or the work product doctrine and

therefore is non-discoverable. Plaintiffs further object to Request No.9 as prematurely seeking

information or document" relating to. or reports by. experts obtained by Plaintiffs pursuant to

Federal Rule of Civil Procedure 26(a)(2). Plaintiffs also object to Request No.9 to the extent that

it seeks information or documents that arc nut discoverable under Federal Rule of Civil Procedure

26(b)(4). Plaintiffs further object to Request No.9 as unduly burdensome to the extent that it calls

for the production of.materials not within the Plaintiffs' possession, custody, or control. Subject to

and without waiving any General Objection or the foregoing objections, Plaintiffs Will produce

non-privileged documents responsive to Request No, 9. Further, in response to Request No.9,

Plaintiffs direct Defendants to the expert reports served by Plaintiffs in this litigation.

 Investigation continues.

 Rt'qu~st   No. 10:

      AII documents that analyze, refer to or relate to the Compactness of any of the Districts of
the Congressional Map, including but not limited to the Circularity Ratio and results of the
Schwartzberg Tests and Core Report for each of the Districts of the Congressional Map.

 ANSWER to Request No. 10:

        In addition to the foregoing General Objections, Plaintiffs object    to   Request No. 10 as

overly broad and not reasonably calculated to lead to the discovery of admissible evidence That is

 relevant to the claim or defense of any party. Plaintiffs also object to Request No. 10 as .seeking

 material that is protected hy the atrorney-ctient privilege andlor the work product doctrine and


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therefore is non-discoverable . Plaintiffs further object to Request No. 10 as prematurely seeking

information or documents relating to, or reports hv, experts obtained by Plnintill.: pursuant to

Federal Rule of Civil Procedure 26(a)(2). Plaintiffs also object to Request No. 10 to the extent

that it seeks information or documents that are not discoverable under Federal Rule of Civil

Procedure 26(b)(4). Plaintiffs also object to Request No. 10 as unduly burdensome to the extent

that it calls for the production of materials not within the Plaintifls' possession. custody, or

control.     Subject to and without waiving any General Objection or the foregoing objections.

 \>lailltiITs will produce non-privileged documents responsive to Request No. 10.             Further. in

response    10   Request No. 10, Plaintiffs direct Defendants to the expert reports served by Plaintiffs

in this litigation. Investigation continues.

 Request No. 11:

           A II maps and drawings including drafts of any Districts of Plaintiffs' Plan or any other
potential    Or' proposed Illinois Congressional Redistricting plan or map generated or considered by
You.                           .

ANSWER to Request No.1 t:

           In add ition to the foregoing General Objections, Plaintiffs object to Request No. I I as

overly broad and not reasonably calculated to lead to the discovery of admissible evidence that is

 relevant to the claim or defense of any party. Plaintiffs further object to Request   No.   II as unduly

 burdensome to the extent that it calls for the production of materials not within the Plaintiffs'

 possession or control. Plaintiffs also object to RequestNo. II to the extent that it asks for material

 protected by the attorney-client privilege or the work product doctrine. Plaintiffs further object to

 Request. No. I I as prematurely seeking information or documents relating to, or reports by.

 experts obtained by Plaintiffs pursuant to Federal Rule of Civil Procedure 26(a)(2}. Plaintiffs also

 object to Request No. I I to the extent that it seeks information or documents that lire not


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discoverable under Federal Rule of Civil Procedure 26(b)(4). Subject to and without waiving any

General Objection or the foregoing objections, Plaintiffs will produce non-privileged documents

responsive to Request No. II. Investigation continues.

 Rrquest No. 12:

       All maps including drafts that show all precincts within each District and precincts split
between Districts.

ANSWER to Request No. 12:

           In addition to the foregoing General Objections, Plaintiffs object to Request No. 12 as

overly broad and unduly burdensome, and not reasonably calculated to lead to the discovery of

admissible evidence that is relevant to the claim or defense of any party. Plaintiffs further object

 10   Request No. 12 as duplicative of other discovery. Plaintiffs also object to Request-No. 12 to the

extent that it asks for material that is protected by the attorney-client privilege   .01'   the work product

doctrine and therefore is non-discoverable. Plaintiffs also object to Request No. 12 as prematurely

seeking information or documents relating to, or reports by, experts obtained by Plaintiffs pursuant

 10   Federal Rule of Civil Procedure 26(a)(2). Plaintiffs also object to Request No. 12 to the extent

 that it seeks information or documents that are not discoverable under Federal Rule of Civil

 Procedure 26(b)(4).      Subject to and without waiving any General Objections or the foregoing

 objections. Plaintiffs will produce non-privileged documents responsive to Request No. 12, limited

 [0   those materials within the Plaintiffs' possession and control. Investigation continues.

 Request No. 13:

        A II documents relating to or containing reports or opinions of any expert, consultant, or
 other Person that You reviewed, to which You referred, on which You relied, which You used, or
 on which You plan to rely or use to support the allegations and claims of the Complaint find the
 composition of Plaintiffs' Plan or any other potential or proposed Illinois Congressional
 Redistricting plan or map generated or considered by You.



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ANSWEH to Request No. 13:

        In addition to till: foregoing General Objections. Plaintiffs object to Request No. 13 as

overly broad and unduly burdensome, and not reasonably calculated to lead to the discovery of

admissible evidence that is relevant to the claim or defense of any party. Plaintiffs also object to

Request No. 13 as seeking material that is protected by the attorney-client privilege and/or the

work product doctrine and therefore is non-discoverable. Plaintiffs further object to Request No.

13 as prematurely seeking information or documents relating to. or reports by, experts obtained by

Plaintiffs pursuant to Federal Rule ofCivil Procedure 26(a)(2). Plaintiffs also object to Request

'1'-10. 13 to the extent that it seeks information or documents that are not discoverable under Federal

Rule   or Civil Procedure 26(b)(4).   Subject to and without waiving any Genera] Objections or the

foregoing objections. Plaintiffs will provide non-privileged documents relied upon by Plaintiffs'

designated experts.    Further, in response to Request No. 13 Plaintiffs direct Defendants to the

expert reports served by Plaintiffs in this litigation. Investigation continues.

Request No. 14:

         Any analysis, review, study, or consideration undertaken by any expert, consultant, or
other Person relating to the viability of drawing one or more VAl' Latino Majority District, CVAP
I..atino Majority District or Latino Opportunity District in Illinois.

ANSWER to Request No. ]4:

         In addition to the foregoing General Objections, Plaintiffs object to Request No. 14 as

overly broad and not reasonably calculated to lead to the discovery of admissible ev idence that is

relevant to the claim or defense of any party. Plaintiffs also object to Request No. /4 as seeking

material lhill is protected by the attorney-client privilege and/or the work product doctrine and

therefore is non-discoverable.     Plaintiffs object on the additional ground that the term "Latino

Opportunity District" is vague and ambiguous. Plaintiffs further object to Request No. 14 as


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prematurely seeking information or documents relating to, or reports by. experts obtained by

Plaintiffs pursuant to Federal Rule ofCivil Procedure 26(a)(2). Plaintiffs also object to Request

No. 14 to the extent that it seeks information or documents that are not discoverable under Federal

I{ulc 01' Civil Procedure 26(b)(4). Plaintiffs further object that Request No. 14 seeks information

regarding ''CVAP" because. on information and belief, the question of citizenship status was not

asked as part of the 20 I0 Census. Any estimate ar20 I0 CVAP would therefore likely be derived

lrom the American Community Survey and would involve data that possesses confidence intervals

that arc too wide to provide a meaningful comparison at most levels of geography. Subject to and

without waiving any General Objections or-the foregoing objections, Plaintiffs will provide all

non-privileged documents relied upon by Plaintiffs' designated experts. Further, in response to

Request No.14, Plaintiffs direct Defendants to the expert reports served by Plaintiffs in this

Iitigation. 1nvestigation continues.

Regucst' No. 15:

       Any analysis. review, study, or consideration undertaken by any expertvcousultaur, or
other Person relating to whether the Congressional Map complies with Section 2 of the Voting
Rights Act of 1965. 42 U.s.C. § 1973. the U.S. Constitution, or the Illinois Constitution.

 ANSWER to Request No. 15:

        In addition to the foregoing General Objections, Plaintiffs object to Request No. 15 us

overly broad and not reasonably calculated to lead to the discovery of admissibleevidence that is

 relevant to the claim or defense of any party. Plaintiffs also object to Request No. 15a5 seeking

 material that is protected by the attorney-client privilege and/or the work product doctrine ancl

 therefore is non-discoverable. Plaintiffs further object to- Request No. 15 to the extent that the

 request purports to ask for legal conclusions, and as prematurely seeking information or

documents relating to, or reports by,cxperts obtained by Plaintiffs pursuant to Federal Rule of


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Civil Procedure 26(a)(2).      Plaintiffs also object to Request No. 15 to the extent that it seeks

information or documents that are not discoverable under Federal Rul.eof Civil Procedure

26(b)( 4).    Subject to and without waiving any General Objections or the foregoing objections,

Plaintiffs will provide non-privileged documents relied upon by Plaintiffs' designated experts.

Further. in response to Request No. 15, Plaintiffs direct Defendants to the expert reports served by

Plaintiffs in this litigation. Investigation continues.

R4~gllCSt    No. 16:

       Any analysis, review, study, Or consideration undertaken by My expert, consultant, or
other Person relating to whether Plaintiffs Plan or any other potential or proposed Illinois
Congressional Redistricting plan complies with Section 2 of the Voting Rights Act of 1965, 42
U.S.c. § J 973, the U.S. Constitution, Or the Hlinois Constitution.

ANSWER to Request No. 16:

         In addition to the foregoing General Objections, Plaintiffs object to Request No. 16 as

overly broad and not reasonably calculated to lead to the discovery of admissibleevidence that is

relevant to the claim or defense of any party. Plaintiffs also object to Request No. 16 as seeking

material that is protected by the attorney-client privilege and/or the work product doctrine and

therefore is non-discoverable. Plaintiffs further object to Request No. l6 to the extent that the

request purports to ask for legal conclusions. and as prematurely seeking information or

documents relating to. or reports by. experts obtained by Plaintiffs pursuant to Federal Rule of

Civil Procedure 26(a)(2).      Plaintiffs also object to Request No. 16 to the extent that it seeks

 information or documents that are not discoverable under Federal Rule of Civil Procedure

 26(b)(4). Subject to and without waiving .any General Objections or the foregoing objections,

 Plaintiffs will provide non-privileged document'> relied upon by Plaintiffs' designated experts.

 Further. in response to Request No. 16, Plaintiffs direct Defendants to the expert reports served by

 Plaintiffs in this litigation. Investigation continues.
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 Request No.17:

       A II documents reviewed by, considered, generated by or relied upon by any expert.
consultant, or other Person in forming an opinion relating to any of the claims or allegations in the
Complaint.

ANSWER to Request No. 17:

         In addition to the foregoing General Objections, Plaintiffs object to Request No. 17 as

overly broad and unduly burdensome. and nut reasonably calculated to lead to the discovery of

admissible evidence that is relevant to the claim or defense of any party. Plaintiffs also object to

 Request No, 17 as seeking material that is protected by the attorney-client privilege and/or the:

 work product doctrine and therefore is non-discoverable. Plaintiffs further object to Request No.

 17 as prematurely seeking information or documents relating to, or reports by, experts obtained by

 Plaintiffs pursuant to Federal Rule of Civil Procedure 26(a)(2). Plaintiffs also object to Request

 No. 17 to the extent that it seeks information or documents that are not discoverable under Federal

 Rule of Civil Procedure 26(b)(4). Subject     to   and without waiving any General Objections or the

 foregoing objections, Plaintiffs will provide non-privileged documents relied upon by Plaintiffs'

 designated experts. Further, in response to Request No. 17, Plaintiffs direct Defendants to the

 expert reports -crvcd in this litigation. and the following websites containing data on which

 I)]aintitls' experts relied:

         hllp:I/\vww2.census.gQv!ccnsus_20 I O/04,-Summary:....Pilc_1 /Illinois/

         hllp://www2 .ccnsus.gov/census_ 2000/datasets/Summary] ile _1111] inois!

         ftp:/lftp.census.gov/census_1990/

 Investigation continues.

 Request No. 18:

         A II information or documents provided to Your expert or consultant to review or consider
 relating to the claims and allegations ofthe Complaint.

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ANSWF:R to Request No. 18:

        III addition to the foregoing General Objections, Plaintiffs object to Request No. 18 as

overly broad and unduly burdensome, and not reasonably calculated La lead to the discovery of

admissible evidence that is relevant to the claim or defense of any party. Plaintiffs also object to

Request No. 18 as seeking material that is protected by the attorney-client privilege and/or the

work product doctrine and therefore is non-discoverable. Plaintiffs further object to Request No.

 18 as prematurely seeking information or documents relating to,   01'   reports by, experts obtained by

 Plaintiffs pursuant to Federal Rule of Civil Procedure 26(a)(2). Plaintiffs also object to Request

 No. 18 to the extent that it seeks information or documents that are not discoverable under Federal

 Rule 01' Civil Procedure 26(b){4). Subject to and without waiving any General Objections or tile

 foregoing objections, Plaintiffs will provide non-privileged documents relied upon by Plaintiffs'

designated experts. Further, in response to Request No. 18, Plaintiffs direct Defendants to the

expert report'; served by the Plaintiffs in this litigation, and the following websires containing data

on which Plaintiffs' experts relied:

        hllp://www2.census.gov!census_20 I O/04·Sumrnary_Fi le_11II1 inois/

        Ilttp://www2.ccnsus.gov/census_2000/dataseL<;/Summary,.:File_ J /lll inois/

        ftp://ftp.census.gov/census_1990/

 Investigation continues.

 Request No. 19:

         All documents that reflect any agreement to engage any expert, consultant, or other Person
 lor the purposes of reviewing, analyzing, critiquing, or assessing the Co ngressional Map;
 Iormulating. developing or providing supporting evidence for the claims and allegations in the
 Complaint: or in the planning, preparing, drawing, revising, analyzlng, or providing supporting
 evidence for Plaintiffs' Plan or any other potential or proposed lllinois Congressional Redistricting
 plan-or mop generated or considered by You.



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ANSWI;:R to Request No. 19:

         In addition to the foregoing General Objections, Plaintiffs object   to   Request No, 19 as

overly 'broudanol unduly burdensome, and not reasonably calculated to lead to the discovery of

admissible evidence that is relevant to the claim or defense 01' any party. Plaintiffs also object to

Request No. 19 as seeking material that is protected by the attorney-client privilege and/or the

work product doctrine and therefore is non-discoverable. Plaintiffs further object.to Request No.

19 as prematurely seeking information or documents.relating to.or reports by. experts obtained by

f'lnintilTs pursuant to Federal Rule of Civil Procedure 26(3)(2). Plaintiffs also object to Request

No. 19 to the extent that it seeks information or documents that are not discoverable under Federal

Rule of Civil Procedure 26(b)(4).

Request No. 20;

     A IJ records of payment to any expert, consultant, or other Person who reviewed,
commented on, advised. or otherwise rendered any advice, input, or opinion concerning the
Congressional Map, the Complaint, or Plaintiffs' Planar any other potential or proposed Illinois

Congressional Redistricting plan or map generated or considered by You.


ANSWER to Request No. 20:


         III addition to the foregoing General Objections, Plaintiffs object to Request No. 20 as

 overly broad and unduly burdensome, and not reasonably caltulattd to leild to tile discovery of

 admissible evidence that is relevant to the claim or defense of any party, Plaintiffs also object to

 Request No. 20 as seeking material that is protected by the anorney-client privilege and/or the

 work product doctrine and therefore is non-discoverable. Plaintiffs further object to Request No.

 20 (IS prematurely seeking information or documents relating to; or reports by, experts obtained by

 Plaintiffs pursuant to Federal Rule of Civil Procedure 26(a)(2).Plaintiffs also object to Request

 No. 20 to the extent that it seeks information or documents that are not discoverable under Federal

 Rule   or Civil Procedure 26(b)(4).   Subject to and without waiving any General Objections or rhe
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       foregoing objections, Plaintiffs will provide non-privileged documents relied         UPOIl    by Piainti ns'


       designated experts. Investigation continues .


      .Reguest No.2 J :


               All documents relating to any complaints, comments, Or suggestions made by any Person,
       including but not limited to Latinos and Interest Groups, that You received or are in Your
       possession, custody, orcontrol relating to the Congressional Map, the Congressional Redistricting
       Process, or any allegations or claims in the Complaint.

       ANSWER to Request No. 21:

                    111 addition to the foregoing General Objections, Plaintiffs object to Request No. 21 as

       overly broad and not reasonably calculated to lead to the discovery of admissible evidence that is

       relevant to the claim or defense of any party. Plaintiffs also object to Request No. 21 as seeking

       material that is protected by the attorney-client privilege and/or the work product doctrine and

       therefore is non-discoverable. Plaintiffs further object to Request No. 21 as seeking information

       that is already in the public record.

       I~cqucst      No. 22:

                    AII documents relating to the claimsand allegations in paragraph2 of the Complaint.

       ANSWER to Request No. 22:

                    In addition to the foregoing General Objections, Plaintiffs object to Request No. 22 as

       overly broad. Plaintiffs also object to Request No. 22 as seeking material that is protected by the

       attorney-client privilege and/or the work product doctrine and therefore is non-discoverable,

       Plaintiffs further object to Request No. 22 to the extent that it mischaracrerizes the allegations

       contained in the Complaint.PJaintilTs further object to Request NO.        n as prematurely seeking
       inlormarion or documents relating to, or reports by. experts obtained by Plaintiffs pursuant to

       Federal Rule of Civil Procedure 26(a)(2). Plaintiffs also object to Request No. 22 to the extent

       that   ·jl   seeks information or documents that arc not discoverable under Federal Rule of Civil
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Procedure 2.6(b)(4). Subject to and without waiving any General Objections or the foregoing

objections, Plaintiffs will provide non-privileged materials responsive to Request No. 22. Further,

in response to Request No. 22, Plaintiffs direct Defendants to the expert reports served by

 Plaintiffs in this litigation and non-privileged material on which Plaintiffs' designated experts

relied, which Plaintiffs are producing. Investigation continues.

 Request No. 23:

       All documents relating to the claims and allegations in paragraphs 38 through 46 of the
 Complaint,                                                                                  .

 ANSWER to Request No. 23:

        In addition to the foregoing General Objections, Plaintiffs object to Request No. 23 as

overly broad. Plaintiffs also object to Request No. 23 as seeking material that is protected by the

attorney-client privilege and/or the work product doctrine and therefore is non-discoverable.

 Plaintiffs further object to Request No, 23 to the extent that it mischaracterizes the allegations

contained in the Complaint. Plaintiffs further object to Request No. 23 as prematurely seeking

 information or documents relating to, or reports by, experts obtained by Plaintiffs pursuant to

 Federal. Rule of Civil Procedure 26(a)(2). Plaintiffs also object to Request No. 23 to the extent

 that it seeks information Or documents that arc not discoverable under Federal Rule of Civil

 Procedure 26(b)(4).   Subject to and without waiving any General Objections or the foregoing

 objections. Plaintiffs will provide non-privileged materials responsive to Request No. 2:3.

 Investigation continues.

 Request No. 24:

        All documents relating to the c1ailhs and allegations in paragraphs 47 through 58 of the
 Complaint.




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ANSWER to Request No. 24:

           In addition to the foregoing General Objections, PlaintifFs object to Request No. 24 as

overly broad. Plaintiffs also object to Request No. 24 as seeking material that is protected by the

attorney-client privilege and/or the work product doctrine and therefore is non-discoverable.

Plaintiffs further object to Request No. 24 to the extent it mischaracrerizes the allegations

contained in the Complaint. Plaintiffs further object to Request No. 24 as prematurely seeking

infonuurion or documents relating to, or reports by, experts obtained by Plaintiffs pursuant tn

 Federal Rule of Civil Procedure 26(a)(2). Plaintiffs also object to Request No, 24 to the extent

that it seeks information or documents that are not discoverable under Federal Rule of Civil

 Procedure 26(b)(4).      Subject to and without waiving any General Objections or the foregoing

objections, Plaintiffs will provide non-privileged materials responsiveto Request No. 24. Further.

in response to Request No, 24, Plaintiffs direct Defendants to the expert reports served by

 1'laintifTs in this litigation, non-privileged documents relied upon by Plaintiffs' experts, which

 Plaintiffs are producing, and the following websites containing data on \>v hich Plaintiffs' experts

rcl ied:

           htlp:/!wv/w2.ccnsus.gov/census _20 I0/04-Summary_Filc_1 1111 inois/


           http://www2 .census.gov/census_2000/datasets/SummtlI)'_File _ JIII I ina is!


           ftp:l/f'lp.census.gov!ccnsus_1990/


 Investigation continues.

 Reg nest No. 25:

       All documents relating to the claims and allegations in paragraphs 59 through 68 of the
 Complaint.                                                        .




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ANSWER to Request No. 25:

          In addition   10   the foregoing General Objections, Plaintiffs object to Request No. 25 as

overly brOHCI. Plaintiffs also object to Request No. 25 as seeking material that is protected by the

attorney-client privilege andlor the work product doctrine .and jherefore is .non-dlscovernble.

Plaintiffs further object to Request No. 25 to the extent it mischaracterizes the allegations

contained in the Complaint. Plaintiffs further object to Request No. 25 as prematurely seeking

 information or documents relating to, or reports by, experts obtained by Plaintiffs pursuant to

 Federal Rule of Civil Procedure 26(a)(2). Plaintiffs also object to Request No. 25 to the extent

 that it seeks information or documents that arc not discoverable under Federal Rule of Civil

 Procedure 26(b)(4),         Subject to and without waiving any General Objections or the foregoing

objections, Plaintiffs will provide non-privileged materials responsive to Request No. 25. Further.

 in response to Request No. 25, Plaintiffs direct Defendants to the expert: reports served by

 Plaintiffs in this litigation and non-privileged material on which Plaintiffs' experts relied, which

 Plaintiffs are producing. Investigation continues.

 Request No. 26:

          All documents relating to the claims and allegations in paragraphs 69 through 10\ of the
 Cornplaint.

 ANSWER to Request No. 26:

          In addition to the foregoing Genera) Objections; Plaintiffs object to this request as overly

 broad.    Plaintiffs also object to Request No. 26 as seeking material that is protected by the

 attorney-client privilege andlor the work product doctrine and therefore is non-discoverable.

 Plaintiffs further object to Request No. 26 to the extent it mischaracterizes the allegations

 contained in the Complaint. Plaintiffs further object to Request No. 26 as prematurely seeking

 information or documents relating to, or reports by, experts obtained by Plaintiffs pursuant to
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Federal Rule of Civil Procedure 26(a)(2). Plaintiffs also object to Request No. 26 to the extent

that it   Sl'CKS    infomuuion or documents that are not discoverable under Federal Rule of Civil

Procedure 26(b)(4).            Subject to and without waiving any General Objections or the foregoing

objections, Pluiruilfs will provide non-privileged materials responsive to Request N(). 26.

Invcst igation conti nucs.

Request No. 27:

          All documents relating to the claims and allegations in paragraphs 110. 115, and \ 20 ofthe
Complaint.

 ANSWER to Request No. 27:

          In addition to the foregoing General Objections, Plaintiffs object to Request No. 27 as

overly broad. Plaintiffs also object to Request No. 27 as seeking material that is protected by the

attorney-client privilege and/or the work product doctrine and therefore is non-discoverable.

 Plaintilrs further object to Request NLl. '27 as prematurely seeking information or documents

relating to,       \II'   reports by, experts obtained by Plaintiffs pursuant to Federal Rule of Civil

 Procedure 26(a)(2). Plaintiffs also object to Request No, 27        to   the extent that it seeks information

or documents I h;1I arc not discoverable under Federal Rule of C ivi I Procedure 26( h)(4). Subject to

a nd without wa iv i ng any Genera I Objections or the foregoing objections, Plaintifls wi II prov ide

 non-privileged materials responsive to Request No. 27.             Further, in response to this Request,

 Plaintiffs direct Defendants to the expert reports served by Plaintiffs in this litigation and non-


 privileged material on which              Plaintiffs' experts relied,    which   Plaintiffs are producing,


 Investigation continues,


 Request No. 28:


        All documents relating to the claims and allegations in paragraph 112 of the Complaint that
 "the Proposed Congressional Plan violates Section 2 of the Voting Rights Act, 42 U.S.c. 1973."


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                                                        A26
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ANSWER to Request No. 28:

        In addition to the foregoing General Objections, Plaintiffs object to Request, No, 28 as

overly broad. Plaintiffs also object to Request No. 28 as seeking material that is protected by the

attorney-client privilege and/or the work product doctrine and therefore is non-discoverable.

l'luintiffs lurthcr object to Request No. 28 as prematurely seeking information or documents

relating to. or reports by, experts obta ined by Plaintiffs pursuant to Federal Rule of' Civi I

Procedure 26(0)(2). Plaintiffs also object to Request.No, 28 to the extent that it seeks information

or documents that are not discoverable under Federal Rule ofCivil Procedure 26(b)(4). Plaintiffs

 further object   to   Request No, 28 to the extent it rnischaracterizes the allegations contained in the

 Complaint. Subject to and without waiving any General Objections or the foregoing objections,

 Plaintiffs will provide non-privileged materials responsive to Request No. 28. Further, ill response

to Request No. 28. Plaintiffs direct Defendants to the expert reports served by Plaintiffs in this

 litigation and non-privileged mnterial on which Plaintiffs' experts relied. which         PI~lintdl'~;   om'

 producing. Investigation continues.

 Request No. 29:

          A II documents analyzing whether one or more Latino Majority Districts can be created in
 Illinois based on the 2010 Census,

 ANSWER to Request No. 29:

         In addition to the foregoing General Objections, Plaintiffs object to Request No. 29 as

 overly broad and not reasonably calculated to lead to the discovery of admissible evidence that is

 relevant to the claim Or defense of any party. Plaintiffs also object to Request No. 29 as seeking

 material that is protected by the auorncy-cl ient privilege andlor the work product doctri ne and

 therefore is non-discoverable. Plaintiffs further object to Request No. 29 as prematurely seeking

 information   or documents relatingto, or reports by, experts obtained by Plaintiffs pursuant to
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Federal Rule of Civil Procedure 26(a)(2). Plaintiffs also object to Request No, 29 to the extent

that it seeks information or documents that are not discoverable under Federal Rule of Civil

Prlln::durc 2(1(b)(I~).   Subject to an.l without waiving any General Objections or the foregoing

objections, Plaintiffs will provide non-privileged materials responsive to Request No. 29; Further,

 in response to Request No. 29, Plaintiffs direct Defendants to the expert reports served by

 Plaintiffs in this litigation and non-privileged material on which Plaintiffs' experts relied, which

 Plaintiffs are producing, and the following websites containing data on which Plaintiffs' experts

 relied:

           http://www2.censlIs.goy/census....;2010/04.:Sul11mary_.File_I /U linois/

           http://www2.census.gQv/census_2000/datasets/Summary_File _1/111 inc is/

           fl.p:/lftp.census.gov/census_1990/

 Investigation continues.

 Request No. 30:

         All documents analyzing whether one or marc CYAP Latino Majority Districts can be
 created in lilinois based on the 201 0 Census.

 ANSWKR to Request No. 30:

           Plaintiffs object to Request No. 30 as unduly burdensome and not reasonably calculated to

 lead to the discovery of admissible evidence. Plaintiffs also object to Request No. 30 as seeking

 materia I that is protected by the attorney-client privilege and/or the work product doctrine.

 Plaintiffs further object that Request No. 30 seeks information regarding "CY ApO' because, on

 information and belief, the question of citizenship status was not asked as part of the 2010 Census.

 Any estimate of 20 I 0 CYAP would therefore likely be derived from the American Community

 Survey and would involve data that possesses confidence intervals that are           [00   wide to provide a

 meaningful comparison at most levels of geography,
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                                                      A28
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Reqllest No. 31 :

        All documents relating to the claims and allegations in paragraphs 3,. 62, and 125 of the
Complaint that Latino eihnicity was the predominantconsideration in the creation of District 4

contained in the Congressional Map,


ANSWER to Request No. 31:


        In addition to the f~)regoiN~ General Objections. Plaintiffs object to Request No.. 31 :;IS

overly broad. Plaintiffs also object to Request No. 31 as seeking material that is protected by the

auoruey-client privilege and/or the work product doctrine and therefore is non-discoverable.

1,'laintiffs further object to Request No. J] as prematurely seeking information or documents

relating to. or reports by, experts obtained by Plaintiffs pursuant to Federal Rule of Civil

 Procedure 26(a)(2). Plaintiffs also object to Request No. 31 to the extent-that it seeks information

or documents that are not discoverable under' Federal Rule of Civil Procedure 26(b)(4). Plaintiffs

also object to Request No. 31 to the extent that it.mischaracterizes the allegations contained in the

Complaint. Subject    to   and without waiving any General Objections      Of   the foregoing objections,

Plaintiffs wi \I provide non-privileged materials responsive to RequestNo. 31. Further. in response

to Request NC>. 3 I. Plaintiffs direct Defendants to the expert reports served by Plaintiffs in this

 litigation and non-privileged ruarerial   0\1   which Plaintiffs' experts relied, which Plaintiffs are

 producing. I nvestigationcontinues.

 Request. 1'10.32:

        All documents relating to the allegations in paragraphs 4,67, and 126 of the Complaint
 that "proposed District 4 is not narrowly tailored to .serve an interest in complying with the Voting
 Rights Act because il includes far moreLatinos voters than would be necessary to comply with
 that law and a Latino majority district can be drawn without racialgerrymandering,'

 ANSWER to Request No. 32:

        In addition to the foregoing General Objections, Plaintiffs object to Request No. 32 as

overly broad. Specifically. Plaintiffs object that paragraph 4 of the Complaint makes       110   allegation

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related to the quoted language. l'laintifls also object to Request No. 32 as seeking material that is

protected by the attorney-client privilege arid/or the work product doctrine and therefore is non-

discoverable. Plaintiffs further object to Request No. 32 as prematurely seeking information or

documents relating to, or reports by, experts obtained by Plaintiffs pursuant to lcdcrul Rule of

Civil Ilrocedure 26(a)(2).   Plaintiffs also object to Request No. 32 to the extent that it seeks

informntion or documents that arc not discoverable under Federal Rule of Civil Procedure

26(b)(4). Plaintiffs .also object to Request No. 32 to the extent it rnischaracterizes the allegations

contained in the Complaint. Plaintiffs als» object to the- extent that Request No. 32 purports to ask

 for legal conclusions. Subject to and without waiving any General Objections or the foregoing

 objections. Plaintilts will provide non-privileged materials responsive to Request No. 32. Further.

 in response to Request No. 32, Plaintiffs direct Defendants to the expert reports served by

 Plaintiff» in this litigation and non-privileged material on which Plaintiffs' experts relied. which

 Plaintiffs are producing. Investigation continues.

RC<lucst No_ 33:

           AII documents relating, to the allegation in paragraph I of the Complaint that the
 Congressional Map "effectively reverses the results of the 2010 congressional elections by
 redrawing districts so that the citizens of Illinois that gave Republicans <In II to 8 advantage in
 III inois's congressiona I de legation would see the states congressional delegation transformed to
 one with 12 Democrats and only 6 Republicans."

 ANSWER to Request No. 33:

        In adll ition to the foregoing General Objections, Plaintiffs object to Request No. 33 as

 overly broad. Plaintiffs also object to Request No. 33 as seeking material that is protected by the

 attorney-client privilege and/er the work product doctrine and therefore is non-discoverable.

 Plaintiffs further object to Request No. 33 to the extent it mischaracierizes the allegations

 contained in the Complaint. Plaintiffs further object to Request No. 33 as prematurely seeking


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information or documents relating to, or reports by, experts obtained by Plaintiffs pursuant to

Federal Rule of Civil Procedure 26(a)(2). Plaintiffs also object to Request No. 33 to the extent

that it     Sl'Ct.;S   information or documents that an: not discoverable under Federal Rule        Ill'   Civil

Procedure 26(b)(4). Subject to and without waiving any General Objections or the foregoing

objections, Plaintiffs will provide non-privileged materials responsive to Request No. 33.

Invesrigarion continues.

Request No. 34:

            All documents relating    10   the claims and allegations in paragraph 4 of the Complaint.

ANSWER to Request No. 34:

            in addition to the foregoing General Objections, Plaintiffs object to Request No. 34 as

overly broad. Plaintiffs also object to Request No. 34 as seeking material that is protected by the

auorney-client privilege and/or the work product doctrine and therefore is non-discoverable.

 Phlinlin~<;    Further object to Request No. 34 to the extent the request rnischaracterizes the allegations

contained in the Complaint. Plaintiffs further object to Request No. 34 as prematurely seeking

 information or documents relating to, or reports by. ex-perts obtained by Plaintiffs pursuant to

 Federal Rule of Civil Procedure 26(a){2). Plaintiffs also object to Request No. 34 to the extent

 that it seeks information or documents that are not discoverable under Federal Rule of Civil

 Procedure 26(b)(4). Subject to and without waiving any General Objections or the foregoing

objections. Plaintiffs will provide non-privileged materials responsive to Request No. 34.

 .1   nvcstigation continues.

 Request No. 35:

            ;\11 documents relating to the claims and allegations in Count I of Complaint.




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ANSWER to Request No. 35:

          In addition to the foregoing General Objections, Plaintiffs object to Request No. 35 as

overly broad. Plaintiffs also object £0 Request No. 35 as seeking material that is protected by the

attorney-client privilege and/or the work product doctrine and therefore is non-discoverable.

Plaintiffs further object    10   Request No. 35 as prematurely seeking information or documents

relating to, or reports by, experts obtained by Plaintiffs pursuant to Federal Rule of Civil

Procedure 26(a)(2). Plaintiffs also object to Request-No. 35 to the extent that it seeks information

01'   documents that are not discoverable under Federal Rule of Civil Procedure 26(b)(4). Subject   10


and without waiving any General abjections or the foregoing. objections. Plaintiffs will provide

non-privileged materials responsive to Request No. 35. Further, in response to Request No. 35,

Plaintiffs direct Defendants to the expert reports served by Plaintiffs in this litigation and non­

privileged material on which Plaintiffs' experts relied, which Plaintiffs arc producing, and the

tollowing websites containing data on which Plaintiffs' experts relied:

          hltp:llwww2.census.gov/census_201 O/04-Summary_Filc__ l III Iinois!


          http://www2.censLls.gov/census_2000/datasets/Summary_Fi le_lIlllinois!


           ftp:/lftp.census.gov!ccnsus_1990/


 Investigation continues.

 Request No. 36:

           All docurnerits relating to the claims and allegations in Count   n of Complaint.
 ANSWER to Request No. 36:

           In addition to the foregoing General Objections, Plaintiffs object to Request No. 36 as

 overly broad. Plaintiffs also object to Request No. 36 as seeking material that is protected by the

 atroruey-clienr privilege and/or the work product doctrine and therefore is non-discovernble.

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1)laintilTs further object to Request No. 36 as prematurely seeking information or dOCUI1JCnts

relating to, or reports by, experts obtained by Plaintiffs pursuant to Federal Rule of Civil

Procedure 26(3)(2). Plaintiffs also object to Request No. 36 to the extent that it seeks information

or documents that are not discoverable under Federal Rule of CivilProcedure 26(b)(4). Subject to

and without waiving any General Objections or the foregoing objections, Plaintiffs will provide

non-privileged materials responsive to Request No. 36. Further, in response to Request No. 36,

Plaintiffs direct Defendants to the expert reports served by Plaintiffs in this litigation aile! non­

privileged material on which Plaintiffs' experts relied" which Plaintiffs are producing, and the

following websites containing data on which Plaintiffs' experts relied:

        http://www2.c.cnslIs.gov/census_20 IO/04-Sul11l11ary_File_UIIli noisl


        http://www2.census.gov/censlls_2000Icbtasels/Summary_.File_ ] III 1inois/


        ftp://Hp.census.gov/ccnsus_19901


Investigation continues.

 Request No. 37:

        All documents relating to the claims and allegations in Count Ill of Cornplaint.

 ANSWF:R to Request No. 37:

        In addition to the foregoing General Objections, Plaintiffs object to Request No. 37 as

 overly broad. Plaintiffs also objecrto Request No. 36 as seeking material rhat is protected by fhe

 attorney-client privilege and/or the work product doctrine and therefore is non-discoverable.

 Plaintiffs further object to Request No. 37 as-prematurely seeking informaricn or documents

 relating to, or reports by, experts obtained by Plaintiffs pursuant to Federal Rule of Civil

 Procedure 26(a)(2). Plaintiffs also object to Request No. 37 to the extent that it seeks informarion

 or documents that are not discoverable under Federal Rule of Civil Procedure 26(b)(4). Subject to

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and without waiving any General Objections or the foregoing objections, Plaintiffs will provide

non-privileged materials responsive to Request No. 37. Further, in response to Request No. 37,

Plaintiffs direct Defendants to the expert reports served by Plaintiffs in this litigation and non­

privileged material on which Plaintiffs' experts relied, which Plaintiffs are producing, and the

following websitcs containing data on which Plaintiffs' experts relied:

        http://www2.census.gov/ccnsus_201 0/04-SummaryJile_J /1I1inois/

        http://www2.census.gov/census_2000/datasets/SummaryJile_1/111 inois/

        ftp:/lftp.ccnsus.gov/census_1990/

 Investigation continues.

 Request Nu. 38:

        All documents relating to the claims and allegations in Count IV of Complaint.

 ANSWER to Request No. 38:

        In addition ro the foregoing General Objections, Plaintiffs object to Request No. 38 as.

 overly broad. Plaintiffs also object to Request No. 38 as seeking material that is protected by the

 attorney-client privilege and/or the work product doctrine and therefore is non-discoverable.

 Plaintiff., further object to Request No. 38 as prematurely seeking information or documents

 relating to,   III   reports by. experts obtained by Plaintiffs pursuant to Federal Rule of Civil

 Procedure 2o(a)(2). Plaintiffs also object to Request No. 38 to the extent that it seeks information

 or documents that are not discoverable under Federal Rule ofCivil Procedure 26(b)(4). Subject to

 and without waiving any General Objections or the foregoing objections, Plaintiffs will provide

 non-pri vileged materia Is responsive to Request No. 38. Further, in response to Request No. 38,

 Plaintiffs direct Defendants to the expert reports served by Plaintiffs in this litigation .and non­




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privileged material on which Plaintiffs' experts relied. which Plaintlfls are producing, and the

following websites containing data on which Plaintiffs' experts relied:

        http://w'ww2.census.govlcensus_2010/04-Surnmary_Filc_1 /lllinois/

        http://www2.censlls.gov/census-:2000/datasctslSummary_Filc_ll1llinoisl

        ftp://ftp.census.gov/ccnslls_19901

Investigation continues.

 Request No. 39:

        All documents relating to the claims and allegations in Count V of Complaint.

 ANSWER to Request No. 39:

        In addition to the foregoing General Objections, Plaintiffs object to Request No. 39 as

overly broad. Plaintiffs also object to Request No. 39 as seeking material that is protected by the

attorney-client privilege and/or the work product doctrine and therefore is non-discovcruhle.

 Plainriffs further object to Request No. 39   as   prematurely seeking information or documents

 relating to, or reports by, experts obtained by Plaintiffs pursuant to Federal Rule of Civil

 Procedure 26(u)(2). Plaintiffs also object to Request No. 39 to the extent that it seeks information

 or documents that <Ire not discoverable under Federal Rule   of Civil Procedure 26(b)(4). Subject to

 and without waiving any General Objections or the foregoing objections, Plaintiffs will provide

 non-priv ileged materials responsive to Request No. 39. Investigation Continues.

 RcgucstNo.40:

        All documents relating to the claims and allegations in Count VI of Complaint.

 ANSWER to Request No. 40:

        In addition to the foregoing General Objections, Plaintiffs object to Request No: 40 as

 overly broad. Plaintiffs also object to Request No. 40   8S' seeking   material that is protected by the

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attorney-client privilege and/or the work product doctrine and therefore is non-discoverable.

Pluinriffs lurthcr object to Request No. 40 as prematurely seeking intorrn.uion or docurrcnts

relating to. or reports by. experts obtained by Plaintiffa jiursuant to Federal Rule of Civil

Procedure 26(a)(2). Plaintiffs also object to Request No. 40 to the extent that it seeks information

or documents thut are not discoverable under Federal Rule of Civil Procedure 26(b)(4). Subject to

and without waiving any General Objections or the foregoing objections, Plaintiffs will provide

non-privileged materials responsive to this request. Investigationcontinues.

 Request No. 41;

        f\ II documents identified in or reiied upon in Your answers to Defendants' Interrogatories.

 ANSW.EH to Request No. 4J:

        111 addition to the foregoing General Objections. Plaintiffs object to Request No. 41 as

overly broad. Plaintiffs also object to Request No. 41 as seeking material that is protected by the

anorney-cl ient privilege and/or the work product doctrine and therefore is non-discoverable.

 Plaintiffs also object to Request No. 41 as duplicative ofother discovery, Subject.to and without

 waiving any General Objections    OJ   the foregoing objections, Plaintiffs refer Defendants to other

 non-privileged material produced in response to these Requests. lnvesrigationcontinues.

 Request Nu. 42:

        Ail documents that support Your responses to Defendants' Requests for Admission.

 ANSWER to Request No. 42:

        In addition to the foregoing General Objections, Plaintiffs object to Request No. 42 us

 overly broad. Plaintiffs also object to Request No. 42 as seeking material that is protected by the

 attorney-c lient privilege and/or the work product doctrine and therefore is non-discoverable.

 Plaintiffs also object to Request No.4 as duplicative or other discovery.: Subject to and without

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waiving any General Objections or the foregoing objections, Plaintiffs refer Defendants to other

non-privileged material produced in response to these Requests. Investigation continues.


Dated: September 19,20 I I                              Respectfully submitted,

                                                        COMMITfEEFOR A FAIR AND
                                                        BALANCED MAP, ETAL.


                                                        Is/ Dana S. Douglas
                                                        One of Their Attorneys

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                                CERTIF'ICATE OF SERVICE

        I hereby certify that on September 19,2011,1 caused a true and correct copy of Plaintiffs'

 Objections to Defendants' First Set of Requests for Production to be served upon the following

 counsel via electronic mail:

        Brent D, Stratton
        Carl Bcrgetz

        Jon Rosenblatt

        Officeofthe Illinois Attorney General

        100 West Randolph Street

        Chicago, Illinois 60601

        (3 J 2) 8! 4-3000




                                                       IslDana S, DOuglas
                                                       Dana S. Douglas
                                                       Attorneyfor Plaintiffs




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